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                             UN ITED STA TES D ISTRIC T C O U RT
                             SOUTHERN DISTRICT O F FLORIDA

                        C A SE N O . 1:20-M I-03237-BECERRA


 UN ITED STA TES O F A M E RICA

 Y.

 DA V ID TY LER H IN ES,

                D efendant
                                           l

                                 CR IM W A L C O V ER SH E ET

      Did thism atteroriginate from a m atterpending in the CentralRegion ofthe United States
      Attomey'sOx cepriortoAugtst9,2013(Mag.JudgeAliciaValle)?               - Yes y-.No
      Did thism atteroriginate âom a matterpending in the Northern Region ofthe United States
      Attomey'sOffcepriortoAugust8,2014(M ag.JudgeShaniekM aynard)?              Yes X No
      Did thism atter origim te âom a m atterpending in the CentralRegion oftheUnited States
      Attomey'sOx cepriortoOctober3,2019(M ag.JudgeJaredSkauss)?             - Yes & No
                                                   Respectfully submitteda

                                                  A RIAN A FA JA RD O O R SH AN
                                                  U N ITED STAT ES A TTO RN EY

                                                                   M .
                                                  M ICHA EL N .BERG ER
                                                  AssistantUnited StatesAttom ey
                                                  Southem DiskictofFlorida
                                                  C ourtID N o.A 5501557
                                                  99 N ortheast41 Skeet,41 Floor
                                                  M inm i,Florida33132-2111
                                                  Telephone:(305)961-9445
                                                  E-m ail:m ichael.berzerz@ usdoi.eov


                                                  EM ILY SCRU G G S
                                                  TrialA ttorney
                                                  CourtID N o.A 5502310
                                                  DepaM entofJuséce
                                                  1400 N ew York A ve,N W
                                                  W ashington,D C 20530
                                                  Telephone:(202)616-2488
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     Case 1:20-mj-03237-JB Document 1 Entered on FLSD Docket 07/24/2020 Page 2 of 11
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                             United StatesofAfnerica                                                                                     )
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                                                                                                                                         )      caseNo.1:20-MJ-03237-BECERRA
                                David TylerHines,                                                                                        )
                                                                                                                                         )
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                                                          lln
                                                            itlttltltll(b
                                                                        ?

            CRIM INAL COM PLAINT BY TELEPH ONE O R OTH ER RELIABLE ELECTRO NIC M EANS

                  1,the com plainantin thiscase,state thatthe following istrueto thc bestofmy k-nowlcdgeand bclief.
(.
 )tloraboutthedatcts)of                                                              May9,13,$.-
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                                                                                                           .                                                                   Mj.
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                                                                                                                                                                                    -M#j#--..-....-.-...inthe
     Spktthqrn                            Districtof                                    Flpri
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                                                                                                            ledefendantts)violated:
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                   Ck-
                     Wc Scction                                                                                          O-t/i
                                                                                                                             tnseDcvs'c?'fh/&pz7
18 U.S.C.j 1014                                                                                False Statementto Lending Instituti
                                                                                                                                 on
18 U.S.C.j 1344                                                                                Bank Fraud
18 U.S.C.j 1957                                                                                Engaging inTransactions in UnlawfulProceeds




             Thiscrim inalconlplailltis based on thesefacts:
SEE AU ACHED AFFIDAVIT.




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Attested to by tlle A pplicallti11accordallce lvitllthe requircnlellts ofFed-lt.criln.4.1by telephone.

Date:               7.23.20
                                                                                                                                                                   Judge-
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City ûnd statc:                       -   -              - .- - -         . -   M igm i,F
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                AFFIDAVIT IN SVPPORT OF A CRIM INAL COM PLAINT

        1,Bl-yan M aslnela,being firstduly sw orn,state'
                                                       .

                      A G ENT BA C K G RO tJND .AN D IN TR O D U CTIO N

        1.      1am a United States PostalInspectorand have been em ployed by theU nited States

 Postal lnspection Service since Feblamry 2003. As a U .S. Postal lnspector, your affiant is

 responsible forthe investigation ofviolations of U nited States law ,incltlding violations of Title

 18 ofthe United StatesCode. lam cun'ently assigned to the m ailfraud temn in the M iam iDivision

 and m y dtdies include investigating cases related to lnailfraud, w ire fraud,bank fraud,m oney

 laundering,and related financial crilnes. l am authorized to obtain and execute tkderal arrest,

 search,and seizure wan-ants.

        2.      This affidavitism ade in supportofa crim inalcom plaintcharging D AV ID TYLER

 HINES (CCHINES'') with violations of Title l8, United States Code, Sedions 1014 (False
 StatementstoaFinanciallnstitution),1344(Bank Fraud),and 1957(EngaginginTransactionsin
 UnlawfulProceeds).
        3.      This .
                     affidavit is based on m y personal ilw estigation and investigation by others,

 including federaland locallaw enforcem entom cials whom Iknow to be reliable and tnzstw orthy.

 The facts contained herein have been obtained by intenziew ing w itnesses and exam ining

 docum ents obtained in the course of the ilw estigation as w ell as through other m eans.

 at-
   fidavit does not include every factlk
                                       -1zown to m e aboutthis ilw estigation,but ratheronly those

 factssuflicientto establish probable cause.
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   O V ERV IEW O F TH E SC H EM E A N D TH E PA Y C H EC K PR O T ECTIO N PR O G M M

                          Overviob'oftheJkyc/lcc/zProteaionProgram
        4.      TheCoronavirusAid,Relief,and EconomicSecurity(CLCARES'')Actisafederal
 1aw enacted in or around M arch 2020 designed to provide em ergency l-
                                                                      inancialassistance to the

 m illionsofAm ericansw ho aresuftkring the econom ic eftkctscaused by theCO V ID-19pandem ic.

 One source ofreliefprovided by the CARES Actwasthe authorization ofup to $349 billion in

 forgivable loans to slnallbusinesses forjob retention and certain other expenses,through a
 prograln refen-ed to asthe Paycheck Protection Prograln (çTPP''). ln or around April2020,
 Conr essatlthorized over$300 billion in additionalPPP ftlnding.
        5.      In order to obtain a PPP loan, a qualifying business m tlst subm it a PPP loan

 application, w lzich is signed by an autholized representative of the business. R'he PPP loan

 application requires the business (through its autlzorized representative)to acknowledge the
 program l-ules and lnak.e certain am nnative certificationsin orderto be eligible to obtain the PPP

 loan.InthePPP loan application,thesmallbusiness(through itsauthorizedrepresentative)must
 state,amongotherthings,its:(a)averagelnonthlypayrollexpenses'
                                                             ,and(b)numberot-employees.
 These t'igures are used to calculate the am ountof m oney the slnallbusiness is eligible to receive

 underthe PPP. ln addition,businessesapplying fora PPP loan m ustprovide doctlm entation to the

 lending institution showing theirpayrollexpenses;typically,businesses w ould supply docum ents

 showingtheamountofpayrolltaxesrepol-tedtotheIntenAalRevenueSelwiceC:IRS'').
        6.      A PPP loan applieation nzustbe processed by a participating lender. Ifa PPP loan

 application is approved,tlze participating lenderfunds the PPP loan using its ow n m onies,w hich

 are 100f
        ?4)guarantced by Slnalll3usinessytdlnillistration (&:Sl3.
                                                                ?
                                                                :
                                                                t''). Data ti-om the applicatitm,
 ilzehldillg illfbnalation aboutthe borroqver,the totalanlolultoftlle loall,alld the listed lzunlber of
Case 1:20-mj-03237-JB Document 1 Entered on FLSD Docket 07/24/2020 Page 5 of 11



 em ployees,is transm itted by the lenderto the SBA in the course of processing the loan. hzthe

 ordinary course ofproviding the loan guaranty,neitherthe SBA norany othergovenunentagency

 checked IRS recordsto confinn thatthe applicanthad paid the payrolltaxesrepresented in the PPP

 applications.

        7.       PPP loan proceedsm ustbe used by the businesson cellain pennissible expenses

 payrollcosts,intereston m ortgages,rent,and tltilities. The PPP allow sthe interestand principal

 on the PPP loan to be entirely forgiven ifthe business spends the loan proceeds on these expense

 item s uzithin a desiglmted period oftilne afterreceiving the proceeds and uses a certain am ountof

 the PPP loan proceedson payrollexpenses.

                       BackgroundOfHINES tu1#Overview oftlteScheme
                 'lhe U nited States isinvestigating fraudtllentapplications subm itted in the nam e of

 com paniesoperated by D A VID TY LER HIN ES,to a lenderapproved by the SBA . HIN ES sought

 approxim ately $13.5 million in PPP funds,purportedly for the purpose of paying em ployees.

 Thoseptlrported employeeseitherdidnotexistoreanzed afraction ofwhatHINES claim ed in his

 PPP applications. Collectively,H IN ES falsely claim ed his colnpaniespaid m illions of dollars in

 payroll in tlze ls1-st quarter of 2020. State and bank records,how ever,show litlle to no payroll

 expense during this period.

        9.       '
                 Fhe lender approved three applications and paid $3,984,557.00 in PPP loans.

 Instead offunding payroll,H IN ES spentthe PPP m oney on personalexpenses atdating w ebsites,

 luxuryjewelozandclothingretailers,andM iamiBeachresorts. HINES alsospentPPP ftmdsto
 purchasea2020Latnborghinisportscarfor$318,497.53thatheregisteredjointlyin hisnameand
 the nmne ofhis com pany.
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                H IN ES vvasa residentofsliam i,Florida atalltim esrelevantto the eventsdescribed

 herein. H IN ES lists hilnself as authorized represelztative and either lnanager or presidentoffour

 com paniesthatapplied for PPP loans.

                The     w ebsite    for    the    Florida     State    Division     of    Corporations

 (hdps'
      .,
       '/dos.lnyforida.com/stlnbiz/)liststhefollowinginfonnationforeachofthefourcompanies

 (collectively,theCCHINES Companies'l:
  Entity Nam e                                        PrincipalAddress            Status asofthis
                                                                                  Filin
  Unified Relocation Solutions.LLC ($CURS''I 150SE 2ndAve                         Active-
  ElN XX-XXXXXXX                                      M iam i,FL 33131            Reinstatem entfiled
                                                                                  l1/16/19
  PromasterM overs,lnc.Cpromaster'')                  4000HollywoodBlvd Inactive
  E1N XX-XXXXXXX                                      Suite 555-5
                                                      Hollyavood,FL 33021

  Cash in HoldingsLLC (û6CIH'')                       8150SW 72ndAve              Active-
  ElN XX-XXXXXXX                                      Stlite 1822                 Reinstatelnentt'
                                                                                                 iled
                                                      M ialni,FL 33143            3/4/20
  W e-pack M ovilzgLLC (çCW PM '')                    2054VistaParkway            Active-
  E1N XX-XXXXXXX                         Suite 400                                Reinstatem entfiled
  N am e changed to JB H unt M overs LLC W estPalm Beach,FL                       3/4/20
  effective 9/3/2019

 HINES islisted astheregistered agentforeach com pany.

         l2.     The undersigned conducted an Intem et search for these businesses and fotm d no

 record of any operating w ebsites.1

                                          Tlte Lending # /Izl#

         13.     Bank A isafinancialinstitutionfederally insured bythe FederalDepositInsurance

 Col-
    poration (ççFD1C''). Bank A isbasedin Charlotte,North Carolinawith branchesthroughout


 1       Theonlyrecorded activity ofabusinessonlinecomestiom reviewsontheBetterBusinessBureau website
         forPromasterand I.VPNI.80th businessesareF-rated buginessesonthesite.Based oncustoluercomments,
         itappearsthatPronlasterand TRTPNIactedasbrokersformovàv sen'ices, Virtuallyallofthereviewsinclude
         complaintsrelatingto bait-and-switch practicesand otherdeceitfulactivities.
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 the United States. Bank A participated in the SB A 'S PPP as a lenderand,assuch,w as authorized

 to lend fundsto eligible bol-row erstm derthetenus ofthe PPP.

                      ### Loan Applications Subm itted ây H IN ES to B ank ,4

         14.      The govenm zent has obtained and I have review ed a copy of seven PPP loan

 applicationsthatw ere subm itted by H IN ES to Bank A . Bank A funded three ofthe seven loans:

  Loan   Entity        Application   N um berof A m ountSought/claim ed   A mount         D ate
  #      Name          StartDate     Emqloyees AverageMonthlyPayroll Disbursed            Deposited
                                     Clalmed
  (IA'' URS            4/18/20       8          $10,380.00                $10,380.00      5/11/20
  //7631                                        $40,0O0/'
                                                        m onth
  idB'' CH'
          l            5/9.
                          /20        49          $794,835.00              $794,835.00     5/13/20
  #6l06                                          $317,934.25/m0nth

  ù%C'' Prolnaster 5/9/20            13          $3,179,342.00            $3,l79,342.00 5/26/20
  #6065                                          $1,271,736.99/m0n1
  d(D'' LFRS d/b/a 5/10/20           9           $6,358,684.00            Closedby
  #t)803 BT M                                    $2,543,473,60/n10n1      BOA
  itE'' Promaster 5/23/20            170         S1,800,000               Closedby
  #2Olt)                                         $720,t)00/month          BOA

  .$F'' CIH            5/26/20       49          $787,500.00              Closedby
  #6437                                          $315,000/month           BOA
  UG'' C'H.l           5/27/20       49          $612,000.00              Closedby
  //1l32                                         S244,800/month           BOA

                                     Total       $13,542,741.00           * ,984,557.00


                  O n each loan application,H IN ES identitied him self asthe m anagerand authorized

 l-epresentative ofthe applicanttnusiness. According to Bank A ,H IN ES signed and subm itted his

 applications electronically through his online Bank A accotmts. H IN ES also subm itted pum orted

 copiesofIntenzalRevenueSenzice(ççIRS'')taxfonnsin supportofhisapplications.
         16.      The proceedsforthese accotlntsw ere to be disbursed in the fbllow ing fourBank'z'
                                                                                                  :
                                                                                                  t

 accotlntsthatI'
               IINES opelled in N'
                                 Iianzi,Florida betweell2016and2018(collectively,the::I-
                                                                                       IINES
 ConlpalliesAccotlnts-'l:(l)checki
                                 'ng accoulltx7423 (in thel'
                                                           lanze ofURSI,(2)savingsaccotmt
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 x0857 (in thenalneofURS),(3)checking accountx6470 (in thename ofPromaster),and (4)
 cheeking accotmtx6016 (in thenameofCIH).HINES wasthesole signeron theCIH andthe
 U RS clzecking accounts,and one of only tw o authorized sir ers on the Prolnaster checking and

 LJRS savings accounts. 1have reviewed accotmtopening records and bank statem ents forthese

 accountsfrom JanuarythroughJune2020.Bank A verifiedtheidentityofHINESwhen heopened

 the Prom asterand C1H accounts by recording thenulnberofhisFlorida driver'slicense. The sam e

 license num berand nam e are associated w ith the registration ofthe Lam borghinispol-tscar.

                             FalseStatem ents tuz### Applications

        17.    HIN ES lnade a nunzberoffalse represelztations on his PPP loan applications.

        18.    First,H INES m ade false representations regarding the num ber of enzployees and

 m onthly payroll. HIN ES claim ed in the applications to have atleast 70 em ployees and m onthly

 payrollofapproximately $4 million attheHINES Com panies.

        19.     A review ofthe H FN ES Com paniesA ecounts from January tlzrough Aprilof2020

 shows monthly intlows and outtlows averaging around $200,000- farlessthan the m illions of

 dollars in payrollthatH IN ES soughtin the PPP applications.

        20.     From January through April2020,the blm k records show paym ents to atm ost a

 dozen dilTerent individuals from HIN ES Com panies'accounts. Paym ents identified as work or

 pap related w eretypically m ade by electronic m oney transferselwices Zelle orV enm o and in no

 case amotlnted to m ore than $3,000 (e.g.,Zelle transferto CtGerard hvorkf'for $704.81,
                                                                                       .Zelle
 transferto iilordan W ork''for$1,531.64'
                                        ,Check for$1,698,m emo line:k:pay throtlgh 2/161').
        21.     '
                lX e Florida D epartm entofR evenue requires em ployersto reportrecords ofw ages

 paid to elnployees by Florida col-porations as partof '
                                                       the paynlent 0f reelnploynzent tax. The




                                                 6
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 FloridaDepartlnentofRevenue had no record ofwage infonnation paid to em ployeesofHINES

 Colnpaniesfroln thet'
                     irstquarterof2015through the firstquarterof2020.

    ### ProceedsSpenton falzxlzry,and PersonalItem s,fac/lztfïzlg Lam borghiniSportscar

          22.    M oreover,H IN ES m ade a num beroffalse statem entsrelating to the use ofthe PPP

 funds in hisloan applications. Forexam ple,HIN ES electronically certified that:

          A 11SBA loan proceedsw illbe used only forbusiness-related pul-poses asspecitied
          in the loan application and consistent with the Paycheck Protection Program
          lkule....

          The funds w illbe used to retain w orkers and m aintain payroll or lnake m ortgage
          paym ents,lease paym ents,and utility paym ents',as specitied underthe Paycheck
          Protection Prol aln Rule;1 tmderstand that if the funds are know ingly used for
          unauthorizedpurposes,thefederalgovernm entm ay hold me legally liable,such as
          forcharges offraud....

 These statem ents w ere know ingly false wllen m ade because,as ftlrtlzer detailed below ,H IN ES

 neverhad the payrollobligationsthatheclaim ed to have,and HINES im m ediately diverted loan

 proceedsforunauthorized uses.

          23.    On A
                    'lay 11, 2020 and M ay 13, 2020, Bank A deposited $10,380.00 and

 $794,835.00 in PPP funds in the respective LJRS and C1H checking accounts. Prior to those

 deposits,therespectivebalancesinthose accountswere $.30 and -$31,369.17. Between M ay 11

 alld M ay 14,$408,100.00 in PPP m oney wastransfen'
                                                   edfrom those accountsto the URS savings

 accotlnt.Therewereno otherdepositsinto thataccountbetween M ay 1andM ay 14,2020,which

 openedthem onth with abalance of$8,693.08.On M ay 18,2020,awirefor$318,497.53wassent

 ti-
   om LJRS savings accountto ::C:U'D ealership''w ith the follow ing note:çt am borghiniH uracan

 EV0 ''

                 Records froln ttcal-lAealership''shoAv H IN ES,identifsed by llis lk
                                                                                    -lorida driver-s

 license, purchased         a    Lalnbor ini sportscar        (vehicle    identification     nunlber
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 ZHW LJF4ZF3LLA13255)for$318,497.53on May 18 in North M iamiBeach,Florida. Florida
 departlnentofmotorvehiclesrecordsshow theLamborghinisportscarisregisteredjointlyinthe
 nam e ofH IN ES and U nified Relocation Solutions LLC,a self-described lnoving com pany.

        25.     The largest paynzents drawn on these accotmts in M ay and Jtme are listed below .

 Theredoesnotappearto be any tnusinesspurposeform ost,ifnotall,ofthese expenses.

                D ate         Payee                              A m ount
                5/13/20       ltklom''                           $15>000.00
                5/14/20       HINES cash                         $9,500.00
                5/27/20       ççNlom''                           $15 000.00
                5/27/20       Saks Fifth Ave                     $4,622.40
                6,
                 /3/20        SubjectB                           $15,000.00
                6/5/20        Fontainebleau M iami               $4,089.00
                6/8/20        H INES cash                        $9,500.00
                6/8/20        SubjectA                           $10,000.00
                6/9/20        SubjectC                           $15,000.00
                6/10/20       The SetaiHotelM iam iBeach         $7,264.97
                6/'10/20      SubjectC                           $6,200.00
                6/15/20       SubjectD                           $5,000.00
                6/15,/20      Grat'
                                  rDiam onds                     $8,530.00
                6,/22720      TheM iam iBeach E                  $5,988.02
         26.    M any ofthe sm allerpaym entslnade from the H IN ES Com paniesA ccounts in M ay

  and June wereforrideshare and food delivery services. HIN ES him selfdoesnothave any personal

  accotmts atBank A but appearsto usethe H IN ES Com panies Accotmts forpersonalpurposes.

                Balzk A closed the H IN ES Com panies A ccounts on June 24,2020. 'Ihe account

  balancestetaled $3,463,162.68andtherehavebeen norepaym entson the loans.

                                            C onclusion

         28.    Based on m y training and experience,and the infonnation provided in thisatx davit,

  ll'espectfully subm itthatthere isprobable cause to believe that:

                On 01-abotlt N,
                              faJ,
                                 '9, 2020,in the Southem D istrict01: -Florida and elsewhere,the
                defendant,D A V ID 7-.IIINES.did km oAvingly lnake a false statenzentand reportfor
                the ptu-
                       pose ofinfluencing the aetion 017a tinancial instittltion w hose deposits are
                insured by the Federal Deposit lnsurance Corporation in connection w ith a loan
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              application,in thatthe defendantfalsely represented on his application fora PPP
              loan to Bank A thathe had averagemonthly gayrollforhiscompanj Cash in
              Holdings LLC ofapproximately $245,135,in vlolation ofTitle l8,Unlted States
              Code,Section 1014.

              On oraboutM ay 13,2020,in the Southern DistrictofFlorida and tlsewhere,the
              defendant,D AV ID T.HIN ES,did know ingly,and w ith intentto defraud,execute,
              and attem pttoexecute,and causetheexecutionof,aschem eand artificetodefraud
              a financialinstitution,which scheme and artifice employed a m aterialfalsehood,
              and did knowingly,and with intentto defraud,execute,and attemptto execute,and
              causetheexecutionofaschemeandartificetomoneysand fundsownedby,and
              under the custody and controlof a financialinstitutlon,by means offalse and
              fraudulentgretenses,representations,andpromisesrelatingtoamaterialfact,that
              is,by causlng Bank A to deposit$794,835.00 into an accountcontrolled by the
              defendant,in violation ofTitle 18,United StatesCode,Section 1344.

       *      On oraboutM ay 18,2020,in the Southern DistrictofFlorida,and elsewhere,the
              defendant,DAVID T.HINES,did knowingly engage and attemptto engage in a
              monetary transaction affecting interstateand foreigncom m erceincriminalderived
              property ofa value greaterthan $10,000,which the defendantknew was derived
              from a specified unlawfulactivity,to wit:tht purchmse of a 2020 Lamborghini
              sportscarin tht amountof$318,497.53,which fundsrepresented tht proceedsof
              fundsobtainedthrough W ireFraud and BankFraud,in violationofTitle 18,United
              StatesCode,Section 1957.
 FURTHER YOUR AFFIANT SA YETH NAUGHT.

                                                                          >


                                                 Bryantm smela
                                                 Unlted StatesPostallnspector


 Attested to by theApplicantin accordancewith the requirementsof
 Fed.R.Crim .P,4.1by 'relephone this 23 day ofJtlly 2020.




 HONORABLE J 'QUELINE BECERRA
 UNITED STAT M AGISTRATE JUDGE
 SOU TH ERN DISTRICT O F FLO RID A




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